          Case 2:17-cv-03239-DGC Document 13 Filed 01/18/18 Page 1 of 1




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 6                        IN THE UNITED STATES DISTRICT COURT
 7                             FOR THE DISTRICT OF ARIZONA
 8
     Joyce Johnson,                                     No. CV17-3239 PHX DGC
 9
                           Plaintiff,                   ORDER
10
     v.
11
12   Desert Schools Federal Credit Union,

13                         Defendant.

14
15            The Court has been advised that this case has settled. Doc. 12.

16            IT IS ORDERED:

17            1.    This matter will, without further Order of this Court, be dismissed with

18   prejudice within 45 days of the date of this order unless a stipulation to dismiss is filed

19   prior to the dismissal date.

20            2.    All pending hearings and deadlines are vacated.

21            3.    All pending motions are found to be moot.

22            4.    The Clerk is directed to terminate this matter on March 4, 2018 without

23   further leave of Court.

24            Dated this 18th day of January, 2018.

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